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                             UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 JOANNA BURKE and JOHN BURKE,                            §
                                                         §
          Plaintiffs,                                    §
                                                         §
 v.                                                      §                     Civil Action No. 4:21-cv-2591
                                                         §
 OCWEN LOAN SERVICING, LLC,                              §
 MARK DANIEL HOPKINS, SHELLEY                            §
 HOPKINS, and HOPKINS LAW, PLLC,                         §
                                                         §
          Defendants.                                    §

      OCWEN LOAN SERVICING, LLC'S CERTIFICATE OF INTERESTED PARTIES
                 AND CORPORATE DISCLOSURE STATEMENT

         Pursuant to Federal Rule of Civil Procedure 7.1, Ocwen Loan Servicing, LLC, ("Ocwen")

files this Certificate of Interested Parties and Corporate Disclosure Statement and states as follows:

         1.      Joanna Burke – Plaintiff. Joanna Burke is an individual who resides in Harris

County, Texas.

         2.      John Burke, Harris County, Texas – Plaintiff. John Burke is an individual who

resides in Harris County, Texas.

         3.      Ocwen Loan Servicing, LLC – Defendant. Ocwen Loan Servicing, LLC merged

with Defendant PHH Mortgage Corporation, a New Jersey corporation, On June 1, 2019, with

PHH Mortgage Corporation surviving the merger. 100% of the common stock of PHH Mortgage

Corporation is owned by PHH Corporation, a Maryland Corporation. 100% of the common stock

of PHH Corporation is owned by Ocwen Financial Corporation, a Florida corporation. Ocwen

Financial Corporation is a publicly traded company with no entity owning more than 10% of its

stock.




Defendant Ocwen's Disclosure Statement and Certificate of Interested Parties
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        4.       Mark Daniel Hopkins – Defendant. Mark D. Hopkins is an individual who resides

in Travis County, Texas.

        5.       Shelley Hopkins – Defendant. Shelley Hopkins is an individual who resides in

Travis County, Texas

        6.       Hopkins Law, PLLC – Defendant. Hopkins Law, PLLC is a Texas Private Limited

Liability Company that has its place of business in Travis County, Texas.

        7.       Mark D. Hopkins and Shelley L. Hopkins, Hopkins Law, PLLC, 3 Lakeway Centre

Ct., Suite 110, Austin, Texas 78734, (512) 600-4320 – Counsel for Defendants.



                                                    Respectfully submitted,

                                                    HOPKINS LAW, PLLC

                                                    By:      /s/ Mark D. Hopkins
                                                             Mark D. Hopkins – Attorney in Charge
                                                             State Bar No. 00793975
                                                             SD ID No. 20322
                                                             Shelley L. Hopkins
                                                             State Bar No. 24036497
                                                             SD ID No. 92646
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                                                             Austin, Texas 78734
                                                             (512) 600-4320
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                                                             ATTORNEYS FOR DEFENDANTS




Defendant Ocwen's Disclosure Statement and Certificate of Interested Parties
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                                     CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of September 2021, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF filing system, and will send a true and correct copy
to the following:

VIA CM/RRR # 7021 0350 0001 0095 2579
AND VIA REGULAR MAIL:
John Burke
46 Kingwood Greens Drive
Kingwood, Texas 77339
PRO SE PLAINTIFF

VIA CM/RRR # 7021 0350 0001 0095 2562
AND VIA REGULAR MAIL:
Joanna Burke
46 Kingwood Greens Drive
Kingwood, Texas 77339
PRO SE PLAINTIFF
                                                             /s/ Mark D. Hopkins
                                                             Mark D. Hopkins




Defendant Ocwen's Disclosure Statement and Certificate of Interested Parties
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